     Case 3:07-cr-02985-WQH          Document 80            Filed 12/12/07    PageID.257         Page 1 of 1



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 7

 8                                     UNITED STATES DISTRICT COURT

 9                                  SOUTHERN DISTRICT OF CALIFORNIA

10                                   (HONORABLE WILLIAM Q. HAYES)

11   UNITED STATES OF AMERICA,                          )     Criminal No. 07cr2985-WQH
                                                        )
12                                                      )
                    Plaintiff,                          )     Date: February 1, 2008
13                                                      )     Time: 1:00 p.m.
     v.                                                 )
14                                                      )     ORDER
     DERIC WILLIAMS,                                    )
15                                                      )
                    Defendant.                          )
16                                                      )

17                  GOOD CAUSE APPEARING IT IS ORDERED THAT:

18                  Copy Connection, the company chosen by the United States Attorney's office to duplicate

19   and distribute the discovery material in the above referenced case, shall bill the District Court directly for

20   the costs incurred by Deric Williams for discovery up to $2,000.00.

21                  IT IS SO ORDERED.

22
     DATED: December 12, 2007
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24                                                                 WILLIAM Q. HAYES
                                                                  United States District Judge
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